                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CHRISTIE ANDREWS,

         Plaintiff,                                 Civil No. 3:21-cv-00526
                                                    Judge Eli J. Richardson
v.                                                  Magistrate Judge Jefferey S. Frensley

TRI STAR SPORTS AND
ENTERTAINMENT GROUP, INC.

         Defendant.


                                     PLAINTIFF’S FIRST SET OF
                                        INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff requests

that Defendant answer fully and separately, in writing, under oath, each of the following

interrogatories and serve a copy of said answers upon counsel for Plaintiff within thirty (30) days

after service of these requests.

                                   INSTRUCTIONS AND DEFINITIONS

     A. Rule 26 Requirements. These requests are subject to Fed. R. Civ. P. 26(b)(5) regarding
        assertions of privilege, Fed. R. Civ. P. 26(e) regarding supplementation, and Fed. R. Civ.
        P. 26(g) regarding certification of responses.

     B. Including. The term “including” shall mean “including, but not limited to.” “Including”
        should not be read in a limiting sense.

     C. Rule 33 Requirements. These interrogatories are subject to Fed. R. Civ. P. 33(b)
        regarding answers and objections. Please note that you or an officer or agent must, to the
        extent it is not objected to, answer separately and fully in writing under oath. Fed. R. Civ.
        33(b)(3). Also, the grounds for objecting to an interrogatory must be stated with
        specificity. Any grounds not stated in a timely objection is waived unless the court, for
        good cause, excuses the failure. Fed. R. Civ. 33(b)(4).

     D. Option to Produce Business Records. If the answer to an interrogatory may be
        determined by examining, auditing, compiling, abstracting or summarizing a party’s
        business records (including electronically stored information) you must specify the


                                             1
     Case 3:21-cv-00526 Document
                         Plaintiff’s19-4    Filed
                                     First Set     03/03/22 Page 1 of 7 PageID #: 118
                                               of Interrogatories
   records in sufficient detail to enable interrogating party to locate and identify them as the
   responding could, and give interrogating party a reasonable opportunity examine and
   audit records at Arciniegas Law.

E. Partial Responses. If a partial or incomplete answer or production is provided, you must
   state the reason that the answer or production is partial or incomplete.

F. You, yours, etc. The second person pronoun refers to Defendant its agents,
   representatives, and/or other persons acting or purporting to act on its behalf.

G. Concerning. The term “concerning” means referring to, describing, evidencing, or
   constituting.

H. Document. The terms “document” and “documents” are defined to be synonymous in
   meaning and equal in scope to

I. Employment. The term “Employment” shall mean hiring, work, occupation, profession,
   trade, job, or other form of rendering services in return for compensation, whether full or
   part-time, permanent or temporary, self-employed or in the employ of another individual
   or business entity.

J. Person. The unqualified term “Person” means an individual, corporation, firm, company,
   sole proprietorship, partnership, unincorporated association, or business association or
   governmental entity.

K. Identify. The terms “Identify,” “identity,” or “identification” mean:

       a. When used in reference to a person, to state his/her full name, present or last
          known address, present or last known telephone number, present or last known
          place of employment and position held, and business telephone number, and place
          of employment, position held, and business telephone number at the time period
          covered by these interrogatories;
       b. When used in reference to a document, to state the date, author, type of document
          (e.g., letter, memorandum, photograph, telegram, tape recording, etc.), the person
          or persons to whom either copies of it were sent, received, or otherwise
          distributed, the manner and means by which it was sent, received or otherwise
          distributed, and the present or last known location and custodian of the original of
          the document and any copies thereof. If any such document was, but is no longer,
          in your possession or custody or subject to your control, state what disposition
          was made of it, the date, by whom, and at whose direction;
       c. When used in reference to a communication, to state the type of communication
          (e.g., letter, personal conversation, meeting, etc.), and whether the communication
          was oral or in writing. If the communication was oral, state the date of the
          communication, the parties thereto, the place and approximate time thereof, the
          substance of what was said by each party, and the identity of all persons present.
          If the communication was written, produce the writing;


                                        2
Case 3:21-cv-00526 Document
                    Plaintiff’s19-4    Filed
                                First Set     03/03/22 Page 2 of 7 PageID #: 119
                                          of Interrogatories
       d. When used in reference to an act, fact, or event to state the substance of the act or
          event, the date, time and place of performance, and the identity of the actor and/or
          all other persons present;
       e. When used in reference to an omission, to state the substance of the act that you
          contend should or would have been performed, the time and date when such act
          should or would have been performed, the place where such act should or would
          have been performed, and the identity of the person who should or would have
          performed such act; and
       f. When used in reference to a date, to state the month, day, and year. Reference to
          any interval of time shall be designated by a beginning month, day, and year and
          an ending month, day, and year.

L. Relates. The phrase “Relates to” means evidences, supports, constitutes, contains records,
   discusses, summarizes, analyzes, discloses, and/or refers to, in whole or in part.

M. “And” and “or” each shall be construed either conjunctively or disjunctively as necessary
   to bring within the scope of these interrogatories any information or document that might
   otherwise be construed to be outside its scope.

N. References to the singular shall include the plural; references to the plural shall include
   the singular.

O. References to the masculine shall include the feminine; references to the feminine shall
   include the masculine.

P. Plaintiff. The Term “Plaintiff” refers to Christie Andrews.

Q. If you contend that you are entitled to refuse to answer any of the interrogatories, state
   the exact legal basis upon which you contend that you are entitled to not answer the
   interrogatory.

R. If you contend that you are entitled to withhold from production any or all documents
   requested herein on the basis of the attorney/client privilege, work-product doctrine or
   other grounds, identify the nature of the document(s), (e.g., letter or memorandum) the
   date for the same, the author, and the person to whom the document was addressed;
   identify each individual who has seen the document, each individual who has received a
   copy of the document and from whom the document was received, and state the basis
   upon which you contend that you are entitled to withhold the document from production.

S. Relevant period. The “relevant period” means the period of time beginning five (5) years
   prior to the filing of Plaintiff’s initial Complaint (ECF No. 1) and continuing to the
   present and shall be the time period applicable to each request unless otherwise stated

T. Avoidance of disputes and delays. If you believe that a request is confusing, vague, or
   ambiguous, please apply a reasonable construction to the request and respond
   accordingly. You may specify your construction of the request in the written portion of


                                        3
Case 3:21-cv-00526 Document
                    Plaintiff’s19-4    Filed
                                First Set     03/03/22 Page 3 of 7 PageID #: 120
                                          of Interrogatories
   your response. Alternatively, you may contact counsel for clarification prior to serving
   your response.




                                        4
Case 3:21-cv-00526 Document
                    Plaintiff’s19-4    Filed
                                First Set     03/03/22 Page 4 of 7 PageID #: 121
                                          of Interrogatories
                                       INTERROGATORIES

Interrogatory No.     1

State all reasons Plaintiff’s employment ended with Defendant.

Interrogatory No.     2

Identify all persons involved in the decisions leading to Plaintiff’s employment ending with
Defendant. Provide their first name, last name, job title, the dates of their employment, and last
known home address, personal email, and cellphone.

Interrogatory No.     3

Identify all individuals employed in the Nashville, Tennessee office for any period of time
between 2019 through the present. Provide their first name, last name, job title, the dates of
their employment, and last known home address, personal email, and cellphone.

Interrogatory No.     4

Identify by bates number all documents that were shared, reviewed or relied upon by Defendant
prior to terminating Plaintiff by the individuals involved in the decision leading to Plaintiff’s
employment ending with Defendant.

Interrogatory No.     5

Identify all persons Defendant contends engaged in the interactive process with Plaintiff.
Provide their first name, last name, job title, the dates of their employment, and last known
home address, personal email, and cellphone.

Interrogatory No.     7

Identify all persons who requested permission from Defendant to work from home status in
2020. Provide their first name, last name, job title, the dates of their employment and last
known home address, personal email, and cellphone.

Interrogatory No.     8

Identify all persons Defendant terminated, laid off or furloughed in 2020 and provide the reason
for the decision. Provide their first name, last name, job title, the dates of their employment, and
last known home address, personal email, and cellphone.

Interrogatory No.     9

Identify each person who filled the vacancy left by Plaintiff or took over her job duties,
responsibilities for any amount of time after Plaintiff’s employment with Defendant ended.
Provide their first name, last name, job title, the dates of their employment, and home address.



                                          5
  Case 3:21-cv-00526 Document
                      Plaintiff’s19-4    Filed
                                  First Set     03/03/22 Page 5 of 7 PageID #: 122
                                            of Interrogatories
Interrogatory No.      10

Identify all persons hired by Defendant after March 1, 2020, through the date this lawsuit was
filed. Provide their first name, last name, job title, the dates of their employment, and home
address.

Interrogatory No.      11

Detail the job duties, responsibilities, and tasks performed by Plaintiff as Amex Liaison and
Team Coordinator.

Interrogatory No.      12

For any full or partial denial to Plaintiff’s requests for admissions please detail the factual basis.

Interrogatory No.      13

Identify all persons permitted to work from home for any period of time in 2020. Provide their
first name, last name, job title, the dates of their employment, and home address.

Interrogatory No.      14

Identify all persons who held the position of Team Coordinator for any period time during
Plaintiff’s tenure through the date of trial. Provide their first name, last name, job title, the dates
of their employment, and home address.

Interrogatory No.      15

State the amount of leave had available to her under the Family Medical Leave Act as of March
17, 2020.

Interrogatory No.      16

Identify all persons in Plaintiff chain of command – starting from the Plaintiff’s immediate
supervisor to the Chief Executive Officer. Provide their first name, last name, job title, the dates
of their employment, and home address.

Interrogatory No.      17

Identify the author of the document “Plaintiff's First Requests for Admission Attachment #2”
and the individuals and documents providing the factual basis for assertions made.

Interrogatory No.      18

Provide a detailed privilege log for any communications Defendant is not producing in
responses to Plaintiff’s Requests for Production based on an assertion of attorney client
privilege or work product that concerning or relating to Plaintiff. The temporal scope of this
request is limited to the last year of Plaintiff’s employment.



                                          6
  Case 3:21-cv-00526 Document
                      Plaintiff’s19-4    Filed
                                  First Set     03/03/22 Page 6 of 7 PageID #: 123
                                            of Interrogatories
                                   CERTIFICATE OF SERVICE

      I hereby certify that on Friday, October 29, 2021, I electronically served the foregoing
PLAINTIFF’S FIRST SET OF INTERROGATORIES via e-mail:

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Thomas Anthony Swafford, BPR # 17578
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                                       Respectfully submitted,




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                                           7
   Case 3:21-cv-00526 Document
                       Plaintiff’s19-4    Filed
                                   First Set     03/03/22 Page 7 of 7 PageID #: 124
                                             of Interrogatories
